                  Case 3:22-cv-00401-JD Document 86 Filed 06/26/22 Page 1 of 2




 1   Jennie Lee Anderson (SBN 203586)                Christopher A. Seeger (Pro Hac Vice)
     jennie@andrusanderson.com                       cseeger@seegerweiss.com
 2   ANDRUS ANDERSON LLP                             Christopher Ayers (Pro Hac Vice)
     155 Montgomery Street, Suite 900                cayers@seegerweiss.com
 3   San Francisco, CA 94104                         SEEGER WEISS LLP
     Telephone:    (415) 986-1400                    55 Challenger Road
 4   Facsimile:    (415) 986-1474                    Ridgefield Park, NJ 07660
                                                     Ph: 973-639-9100
 5   Matthew P. Bergman (Pro Hac Vice)               Fax: 973-679-8656
     matt@socialmediavictims.org
 6   Glenn Draper (Pro Hac Vice)                     Robert H. Klonoff (Pro Hac Vice)
     glenn@socialmediavictims.org                    klonoff@usa.net
 7   SOCIAL MEDIA VICTIMS LAW CENTER                 2425 S.W. 76th Ave.
     821 Second Avenue, Suite 2100                   Portland, Oregon 97225
 8   Seattle, WA 98104                               Ph: (503) 702-0218
     Ph: (206) 741-4862                              Fax: (503) 768-6671
 9   Fax: (206) 957-9549
                                                     Attorneys for Plaintiffs
10   Laura Marquez-Garrett, SBN 221542
     laura@socialmediavictims.org
11   1390 Market St, Suite 200
     San Francisco, CA 94102
12   Ph: 206-294-1348
13
                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
15

16    TAMMY RODRIGUEZ, individually and as           Case No.      3:22-cv-0401-JD
      the Personal Representative of the Estate of
17    Selena Rodriguez,                              NOTICE OF CHANGE OF ADDRESS
18                       Plaintiff,
             v.
19
      META PLATFORMS, INC., formerly known
20    as FACEBOOK, INC.; SNAP, INC.;
      TIKTOK, INC.; BYTEDANCE, INC.,
21                               Defendants.
22

23


     NOTICE OF CHANGE OF ADDRESS - 1                                  SOCIAL MEDIA VICTIMS
     3:22-cv-0401-JD                                                   LAW CENTER PLLC
                                                                       821 2ND AVENUE, SUITE 2100
                                                                           SEATTLE, WA 98104
               Case 3:22-cv-00401-JD Document 86 Filed 06/26/22 Page 2 of 2




 1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT Laura Marquez-Garrett’s contact information has

 3   changed. All pleadings, notices, orders, correspondence, and other papers in connection with this

 4   action shall be served upon her at the new address noted below:

 5          Laura Marquez-Garrett
            1390 Market St, Suite 200
 6          San Francisco, CA 94102

 7
     DATED this 26th day of June, 2022.
 8
                                               By /s/ Laura Marquez-Garrett
 9                                                    Laura Marquez-Garrett, SBN 221542
10                                               Attorney for Plaintiff
11

12

13

14

15

16

17

18

19

20

21

22

23


     NOTICE OF CHANGE OF ADDRESS - 2                                      SOCIAL MEDIA VICTIMS
     3:22-cv-0401-JD                                                       LAW CENTER PLLC
                                                                           821 2ND AVENUE, SUITE 2100
                                                                               SEATTLE, WA 98104
